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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

ENCHANTED GREEN LLC,                          )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )     Case No. 2:23-cv-00696
                                              )
ALABAMA MEDICAL CANNABIS                      )
COMMISSION;                                   )
WILLIAM SALISKI, JR., M.D.;                   )
SAM BLAKEMORE;                                )
DWIGHT GAMBLE;                                )
ANGELA MARTIN, M.D.;                          )
ERIC JENSEN;                                  )
LOREE SKELTON;                                )
REX VAUGHN;                                   )
CHARLES PRICE;                                )
TAYLOR HATCHETT;                              )
JAMES HARWELL;                                )
JERZY SZAFLARSKI, M.D.;                       )
DION ROBINSON;                                )
JIMMIE H. HARVEY, M.D., et al.,               )
                                              )
       Defendants.                            )


          PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY
     RESTRAINING ORDER AND PRELIMINARY INJUNCTIVE RELIEF

       Plaintiff Enchanted Green LLC, by and through its undersigned counsel of

record, hereby moves this Honorable Court for a temporary restraining order and

preliminary injunctive relief pursuant to Fed. R. Civ. P. 65 along the lines described

in, and for all of the reasons set forth in, the accompanying Memorandum Brief,
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which is expressly incorporated herein and filed contemporaneously herewith.

                                     Respectfully submitted,

                                     /s/ Justin C. Owen
                                     Justin C. Owen (ASB-9718-I36O)
                                     Attorney for Plaintiff Enchanted Green LLC

OF COUNSEL:

BODEWELL, LLP
1286 Oak Grove Road, Suite 200
Birmingham, AL 35209
Tel.: (205) 533-7878
Fax : (205) 922-5819
Email : Justin@bodewell-law.com




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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of December, 2023, I filed and served a
copy of the foregoing upon all parties and attorneys of record via the Court’s
CM/ECF electronic filing system, electronic mail, private process server, and/or
U.S. Postal Service First Class Mail and/or Certified Mail (postage prepaid), which
will send notification of such filing to the following persons, entities, and parties of
record:

Alabama Medical Cannabis Commission William Saliski, Jr., M.D.
Attn: Director John McMillan        Alabama State House Room 200
445 Dexter Avenue, Suite 8040       11 South Union Street
Montgomery, AL 36104                Montgomery, AL 36130

Sam Blakemore                                  Dwight Gamble
Alabama State House Room 200                   Alabama State House Room 200
11 South Union Street                          11 South Union Street
Montgomery, AL 36130                           Montgomery, AL 36130

Angela Martin, M.D.                            Eric Jensen
Alabama State House Room 200                   Alabama State House Room 200
11 South Union Street                          11 South Union Street
Montgomery, AL 36130                           Montgomery, AL 36130

Loree Skelton                                  Rex Vaughn
Alabama State House Room 200                   Alabama State House Room 200
11 South Union Street                          11 South Union Street
Montgomery, AL 36130                           Montgomery, AL 36130

Charles Price                                  Taylor Hatchett
Alabama State House Room 200                   Alabama State House Room 200
11 South Union Street                          11 South Union Street
Montgomery, AL 36130                           Montgomery, AL 36130

James Harwell                                  Jerzy Szaflarski, M.D.
Alabama State House Room 200                   Alabama State House Room 200
11 South Union Street                          11 South Union Street
Montgomery, AL 36130                           Montgomery, AL 36130



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Dion Robinson                               Jimmie H. Harvey, M.D.
Alabama State House Room 200                Alabama State House Room 200
11 South Union Street                       11 South Union Street
Montgomery, AL 36130                        Montgomery, AL 36130

       Plaintiff’s counsel further certifies that prior to filing the Complaint and
this/these Motion filing(s), he has informed and/or has attempted to inform the
following parties/attorneys/persons who are known to represent Defendant Alabama
Medical Cannabis Commission as well as its members/commissioners (the
remaining Defendants), of the filing of this lawsuit and this Motion:

Justin C. Aday                              William H. Webster
445 Dexter Avenue, Suite 8040               Webster, Henry, Bradwell, Cohan,
Montgomery, AL 36104                        Speagle & DeShazo, P.C.
Email: Justin.aday@amcc.Alabama.gov         P.O. Box 239
                                            Montgomery, AL 36101-0239
                                            Email: will@websterhenry.com
Mark D. Wilkerson
Wilkerson & Bryan, P.C.
P.O. Box 830
Montgomery, AL 36101-0830
Email: mark@wilkersonbryan.com

      Plaintiff’s counsel further certifies and represents that he will provide Mr.
Aday, Mr. Webster, and Mr. Wilkerson with copies of this/these filing(s) and the
case number for this matter once assigned.

                                            /s/ Justin C. Owen
                                            OF COUNSEL




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